                                                                               Case 3:17-cv-00939-WHA Document 2250 Filed 11/21/17 Page 1 of 1



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                                                                          5                               IN THE UNITED STATES DISTRICT COURT
                                                                          6
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          7
                                                                          8
                                                                          9   WAYMO LLC,                                                   No. C 17-00939 WHA
                                                                         10                  Plaintiff,
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   UBER TECHNOLOGIES, INC.;                                     ORDER RE TIMELINE
                                                                         13   OTTOMOTTO LLC; and OTTO
                                                                              TRUCKING LLC,
                                                                         14                  Defendants.
                                                                         15                                               /

                                                                         16          Before opening statements, counsel shall agree on a simple timeline to be displayed on a
                                                                         17   large posterboard, approximately four feet by eight feet, on easels by the wall opposite the jury
                                                                         18   box. The timeline should have seven or eight of the most important dates in this case. It need
                                                                         19   not have all dates and will simply serve as a frame of reference for the jury to place key events
                                                                         20   as testified to by witnesses at trial. Examples of important dates would include Anthony
                                                                         21   Levandowski’s last day at Waymo LLC, the formation of Ottomotto LLC, and the acquisition of
                                                                         22   Ottomotto by Uber Technologies, Inc.
                                                                         23
                                                                         24          IT IS SO ORDERED.
                                                                         25
                                                                         26   Dated: November 21, 2017.
                                                                         27                                                            WILLIAM ALSUP
                                                                                                                                       UNITED STATES DISTRICT JUDGE
                                                                         28
